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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                          Case Number 4:03cr3132-002

                                                            USM Number 18239-047

LUIS HERRERA
                          Defendant
                                                            MICHAEL J. HANSEN

                                                            Defendant’s Attorney
___________________________________

                                 JUDGMENT IN A CRIMINAL CASE
                          (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to Standard Conditions 3 and 6 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                 Date Violation
          Violation Number                  Nature of Violation                   Concluded


    1. (Standard Condition #3)        The defendant shall answer                   July 8, 2005
                                      truthfully all inquires by the
                                      probation officer and follow
                                      instructions of the probation
                                      officer.

    2. (Standard Condition #6)        The defendant shall notify the          July 29, 2005 to present
                                      probation officer at least ten
                                      days prior to any change in
                                      residence or employment.
Original Offense: Possession with intent to distribute methamphetamine in violation of 21 USC 841(a)(1) and
21 USC 841(b)(1) and 18 USC 2.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Original petition and allegations 3 and 4 of the amended petition for offender under supervision
are dismissed on the motion of the United States .

Following the imposition of sentence, the Court advised the defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

I
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T IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                  March 29, 2007

                                                                      s/ Richard G. Kopf
                                                                      United States District Judge

                                                                             April 2, 2007
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                                        IMPRISONMENT

      It is ordered defendant’s term of supervised release is revoked. The defendant is hereby
committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
twenty-four (24) months with no supervised release to follow.

The Court makes the following recommendations to the Bureau of Prisons:

1.       The Court recommends in the strongest possible terms that the defendant participate in the
         500-hour Intensive Drug Treatment Program or any similar drug treatment program
         available.

2.       That the defendant be incarcerated at the prison camp at Yankton, South Dakota.

The defendant is remanded to the custody of the United States Marshal.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                              _____________________________
                                                                      Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                       __________________________________
                                                              UNITED STATES WARDEN


                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                       __________________________________
                                                              UNITED STATES WARDEN


                                                    By:__________________________________
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                    Total Fine                 Total Restitution
    $100.00 (A balance of
 $25.00 remains)




                                              FINE

         No fine imposed.


                                        RESTITUTION

         No restitution was ordered.
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Defendant: LUIS HERRERA                                                                       Page 5 of 5
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                                     SCHEDULE OF PAYMENTS

The defendant shall pay the special assessment in the amount of $100.00. A balance of $25.00
remains.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and © the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 100
Centennial Mall North, 593 Federal Building, Lincoln, NE 68508.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

CLERK’S OFFICE USE ONLY:
ECF DOCUMENT
I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________
DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
